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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF GEORGIA


                                             )
                                             )
                                             )      Civ. No.
                                             )
PRAKASH REGMI and                            )
SHOVA SUBEDI                                 )      COMPLAINT TO COMPEL
                                             )      AGENCY ACTION UNDER
Plaintiffs                                   )      28 U.S.C § 1361 AND 5 U.S.C.
                                             )      §§ 555(b), 701(1), AND FOR
v.                                           )      A WRIT OF MANDAMUS TO
                                             )      COMPEL DEFENDANTS’
UR M. JADDOU, Director of U.S.               )      ADJUDICATION OF FORMS I-485
Citizenship and Immigration Services         )      ADJUSTMENT OF STATUS
                                             )      APPLICATION
                                             )
                                             )      Agency No. A218 015 185
                                             )      Agency No. A219 753 025
Defendant.                                   )
                                             )
                                             )



                                    LIST OF EXHIBITS



Exhibit A            Plaintiffs’ passport biographical pages, visas and I-94s;

Exhibit B            Plaintiffs’ Receipt Notices for Forms, I-485, Application for Adjustment

                     of Status;

Exhibit C            Approval Notice for Form, I-140, Immigrant Petition for Immigrant

                     Worker;

Exhibit D            Copy of Principal Plaintiff’s Employment Authorization Document;

Exhibit E            Copy of Receipt Notice for Form I-485J, Confirmation of Bona Fide Job

                     Offer or Request for Job Portability INA SEC 204(J);
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Exhibit F         Copy of USCIS’ national media processing time for Form I-485 for

                  Fiscal Year 2018 to 2023 (up to February 28, 2023); and

Exhibit G         March 2023 Visa Bulletin.




                                       Respectfully submitted this 20th day of March,
                                       2023,

                                                     /s/
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                                       Georgia Bar No. 623307
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